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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

GABRIEL MARTINEZ,

        Plaintiff,

v.                                                                   No. 20-cv-1072 WJ-KRS

XI JINPING,

        Defendant.

                               ORDER TO CURE DEFICIENCY

        This matter is before the Court on Plaintiff’s Motion to Proceed In Forma Pauperis (Doc.

2). The Court cannot rule on the Motion because it does not include a six-month inmate account

statement, as required by 28 U.S.C. § 1915(b)(1). Within thirty (30) days of entry of this Order,

Plaintiff shall submit an inmate account statement reflecting transactions between April 16, 2020

and October 16, 2020. All filings should include the case number (20-cv-1072 WJ-KRS). The

failure to timely comply with this Order will result in dismissal of this action without prejudice.

        IT IS ORDERED that within thirty (30) days of entry of this Order, Plaintiff shall file a

certified inmate account statement reflecting transactions between April 16, 2020 and October 16,

2020.




                                      ____________________________________
                                      UNITED STATES MAGISTRATE JUDGE
